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     '<"AO 245B (CASD) (Rev, 8ill)   Judgment in a Criminal Case
                Sheet 1




                                               UNITED STATES DISTRICT COUHt JMl-4 PM t; 2 \
                                                   SOUTHERN DISTRICT OF CALIFORNIA
                     UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAh~SE
                                         v.                                        (For Offenses Committed}?11 or After ¥verMer J, J&Vft.}TY

                      RICHARD RALPH VALLES [7J                                     Case Number: IOCR2154-BTM

                                                                                    WENDY GERBOTH
                                                                                   Defendant's Attorney
     REGISTRATIO~ NO. 71318280

     o
     THE DEFENDANT:
     ~ ~e~edg~Hy~counu~_4~O~F_-~rH~E~TN_D~IC~T_M~E_N_T~~~~~~~~~~~~~~~~~~~~~~~~
     o w~fuundg~l~oncoun«~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
          after a plea of not guilty.
          Accordingly. the defendant is adjudged guilty of such count(s). which involve the following otTense(s):
                                                                                                                                            Count
     Title & Section                          Nature of Offense                                                                            Number(s)
21 USC 846, 84I(a)( I)                 CONSPIRACY TO DISTRIBUTE METHAMPHETAMINE                                                                 4




        The defendant is sentenced as provided in pages 2 through~_..:.4~~ofthisjudgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of J 984.
  o The defendant has been found not guilty on count(s)~~~~~~~~~~~~~~~~~_~~_~~_ _~~_
  ~ Count(s) Remaining counts in the Indictment                                     is   0    are~ dismissed on the motion ofthe United States.
 181 Assessment: $100 to be paid at the rate of$25.00 per quarter through the Inmate Financial Responsibility Program.

  181 Fine waived                                    o Forfeiture pursuant to order filed       ~--~-----------
                                                                                                                               , incorporated herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney tor this district within 30 days of any change of name. residence,
 or mailing address until all nnes. restitution. costs. and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.

                                                                              DECEMBER 30, 20 II




                                                                                         BARRY TED MOSKOWITZ
                                                                              UNITED STATES DISTRICT JUDGE

                                                                                                                                              I OCR2IS4-BTM
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1\02458 (CASD) (Rev 8'11) Judgment in a Criminal Case
           Sheet 2 ~- 1mprisonment

                                                                                                    Judgment -   Page _...;.2_ of   4
 DEFENDANT: RICHARD RALPH V ALLES [7]
 CASE NUMBER: 10CR2154-BTM
                                                             IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
          SEVENTY (70) MONTHS




      D Sentence imposed pursuant to Title 8 USC Section I326(b).
      ~ The court makes the following recommendations to the Bureau of Prisons:
                                                                                                  ~UNITED STATES DISTRICT JUDGE

          The Court STRONGLY recommends that the defendant participate in the 500 Hour RDAP program. That the defendant
          serve his sentence in the Southern or Central Districts of California to facilitate family visits.



      D The defendant is remanded to the custody of the United States Marshal.
      D The defendant shall surrender to the United States Marshal for this district:
          Oat                              Da.m.       D p.m. on
               as notified by the United States Marshal.

      D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         D belore
                   ----------------------------------,
          D as notitied by the United States Marshal.
          D as notifi.:d by the Probation or Pretrial Services OtTicc.

                                                                    RETURN

 I have executed this juagment as follows:

         Defendant delivered en                                                        to

 at                                                     with a certified copy of this judgment.


                                                                                                  UNITED STA TES MARSHAL


                                                                         By
                                                                                             DEPUTY UNITED STATES MARSHAL




                                                                                                                             lOCR2154-BTM
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AO 2458 (CASDI (Rev. 8ill) Judgment In a Criminal Case
           Sheet 3 Supervised Release
                                                                                                              Judgment-Page     ~         of _ _;::.4_ __
DEFENDANT: RICHARD RALPH VALLES [7]
CASE NUMBER: lOCR2154-BTM
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
FOUR (4) YEARS.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For oflenses committed on or (itier September f 3. J 994:
The defendant shall not illegallv possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substancc. The defen::lant sh:.!l(sLlbmi~ to one drug test within IS days of release from imprisonment and at least two pcriodic drug tests
thereafter as dctcrmined by the court. Testing requirements will not ~xceed submissil)n of more than         drug tests per month during
the term of supervision. unless otherwise ordered by court.

D The above drug testing condition is suspended. based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, ifapplieable.)

       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The delendant shall cooperate in the collection ora DNA sample from the defendant pursuant to seetion 3 of the DNA Analysis
       Backloz Elimination Act of2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).                                                          .
       The defendant shall comply with the rcquirements of the Sex Offender Registration and Notification Act (42 U.S.c. § 1690 I, et seq.) as dIrected
       by the probation of1icer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
       was convicted of a qualifying offense. (Check if applicable.)
D The defendant shall rarticipate in an approved program for domestic violence. (Check, ifapplicable.)
          If this judgment imposes a fine Of restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution Ihat remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgPlent.

         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.


                                        STANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer:
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall StlPPort his or her depl~ndents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation. unless excused by the probation officer for schooling. training, or other
        acceptable reasons;

  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use of alcohol and shall not purchase. possess, use, distribute. or administer any
        controlled substance or any pa<·apher.1dLa related to aLj ccntlollea substances, except as pIcscr;bed by a physician;
  H)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed. or administered;
  9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
        a felony, unless granted permission to do so by the probation officer:

 10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
        contraband observed in plain view of the probation officer;

 II)    the defendant shall noli fy the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)    the (:efendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and

 13)    as dircctcd by the probation officer. the defendant shall notifY third parties of risks that may be occasioned by the defendant's criminal
        record or personal history or rharacleri~tic, and shall permit the probation officer to make such notifications and to confirm the
        defendant's compliance with such notification requirement.

                                                                                                                                       lOCR2154-BTM
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        AO 1458 (CASD) (Re,. 8/11) ./udgment in a Criminal Case
                   Sheet 4 - S~cial ConditIOns
                                                                                                          Judgment-Page   -.:L- of _...;:..4_ _
       DEFENDANT: RICHARD RALPH VALLES [7]
       CASE NUMBER: IOCR2154-BTM




                                              SPECIAL CONDITIONS OF SUPERVISION
I8l Submit person, residence, office or vehicle to a search, eonducted by a United States Probation Officer at a reasonable time and in a
    reasonable manner. based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
    search may be grounds for revocatbn; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.

I8l Participate in a program of drug or alcohol abuse treatment including testing and counseling, with at least I to 8 tests per month and I to 8
    counseling sessions per month as directed by the probation officer.
o Not transport, harbor, or assist undocumented aliens.
o   Not associate with undocumented aliens or alien smugglers.
o Not reenter the United States illegally.
18I Not enter the Republic of Mexico without written oermission of the Court or probation officer.
I8l Report all \ chicles owned or Gperated, or in which you have an interest, to the probation officer.
I8l Not possess ,my narcotic drug or controlled substan:e without a lawful medical prescription.
I8l Not associate with known users of, smugglers of, or dealers in narcotics, controJled substances, or dangerous drugs in any foml.
o Participate in a program (~f mental health treatment as directed by the probation officer. The Court authorizes the release ofthe pre-sentence
  report and available psychological evaluations to the mental health provider, as approved by the probation officer. The defendant shall
    consent to the release of evaluations and treatment infonnation to the probation officer and the Court by the mental health provider.



o officer.
  Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
           if directed.
o   Provide cOillplete disclosure of personal and ow;;ness fi:12i1cial records to th~ probation officer as requested.
o   Be prohibited fr0111 opelling checking accounts 01 incurring new credit charges or opening additional lines of credit without approval ofthe
    probation officer.
I8l Seek and m,intl1in full till\e ':'nployment and/or s,l]ooling or c, combination of both.
o Resolve all outstanding warrants within days.
o Complete hours of community service in a program approved by the probation officer within
o   Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of

o If deported, excluded. or allowed to voluntarily leave the United States, obey all laws federal, state and local and not reenter the United
    States illegally and report to the probation officer within 72 hours of any reentry to the United States; the other conditions of supervision are
    suspended while the dl.!it:nitant is out of the Lrlill.!J States a11er deportation, exclusion, or voluntary departure.




                                                                                                                                    lOCR2154-BTM
